                    CASE 0:21-cv-01560-MJD-LIB Doc. 67 Filed 02/21/23 Page 1 of 2

                        IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MINNESOTA
                                       SHOW CAUSE HEARING
 Bruce Rankin,                                        )                COURT MINUTES - CIVIL
                                                      )                 BEFORE: Leo I. Brisbois
                         Plaintiff,                   )                  U.S. Magistrate Judge
                                                      )
  v.                                                  )   Case No:             21-cv-1560 (MJD/LIB)
                                                      )   Date:                February 21, 2023
Direct Recovery Services, LLC, et.                    )   Court Reporter:      Digital Recording
al.,                                                  )   Courthouse:          Duluth
                                                          Courtroom:           Courtroom 3
                        Defendants.                   )   Time Commenced:      3:01 p.m.
                                                      )   Time Concluded:      3:30 p.m.
                                                      )   Time in Court:       29 Minutes


 APPEARANCES:
        For Plaintiff: Adam Strauss, attorney of record.
        For Defendant DNF Associates, LLC: Kiralyn Locke, attorney of record.
        For Defendant Direct Recovery Services, LLC: Bruce Frank, employee.

For the reasons announced from the bench and stated on the record, the Report and Recommendation on the issue
of possible contempt and any potential sanctions will be held in abeyance pending the following actions of the
parties as Ordered by the Court:

   A. An attorney must appear on CM/ECF as counsel of record for Defendant Direct Recovery Services no
      later than March 31, 2023;
   B. Plaintiff’s counsel, counsel for Defendant DNF Associates, LLC, and Defendant Direct Recovery
      Services’ (new) counsel must contact JAMS no later than April 10, 2023, for purposes of scheduling a
      date certain settlement conference with the appointed Special Master at the earliest possible date and file
      a joint letter on CM/ECF informing the Court as to the date, time, and location of the settlement
      conference;
   C. Defendant Direct Recovery Services’ representative and (new) counsel must appear and participate in the
      scheduled settlement conference with the Special Master, Plaintiff, Plaintiff’s counsel, Defendant DNF
      Associates’ representative, and Defendant DNF Associates’ counsel;
   D. Plaintiff’s counsel, counsel for Defendant DNF Associates, LLC, and Defendant Direct Recovery
      Services’ (new) counsel shall filed a joint letter on CM/ECF within three business days of the conclusion
      of the scheduled settlement conference informing the Court as to the result thereof;
   E. If the case (or any part thereof) is settled at the settlement conference, then a Stipulation of Dismissal
      with Prejudice shall be filed on CM/ECF no later than 30 days after the conclusion of the settlement
      conference; but
   F. If the case against Defendant Direct Recovery Services was not settled at the settlement conference,
      Defendant Direct Recovery Services’ (new) counsel shall Answer or otherwise respond to the Complaint
      and any other pleading requiring a response no later than 21 days after the conclusion of the settlement
      conference; and
   G. There will be no extensions of, nor further relief from, any of the foregoing conditions.

Lastly, Mr. Frank is directed and required to contact Ms. Jennifer Beck at 218-529-3520 to provide his and
Defendant Direct Recovery Services’ CEO, Don Cornelius’, current mailing addresses, email addresses, and
telephone numbers.
CASE 0:21-cv-01560-MJD-LIB Doc. 67 Filed 02/21/23 Page 2 of 2
                                                                       s/BNF
                                                            Law Clerk Initials
